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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

PATRICK HENRY MURPHY,               §
            Petitioner,             §
                                    §         Civil Action No. 3:09-cv-1368
v.                                  §       (Magistrate Judge David L. Horan)
                                    §
WILLIAM STEPHENS,                   §         * DEATH PENALTY CASE *
Director, Texas Department          §
of Criminal Justice,                §
Correctional Institutions Division, §
                  Respondent.       §

     RESPONDENT’S REPLY TO PETITIONER’
                           PETITIONER’S RESPONSE TO THE
      MOTION TO STRIKE UNTIMELY SUPPLEMENTAL EXHIBITS

      In his federal habeas petition filed over five years ago, Murphy first

argued that his trial counsel was deficient for failing to timely employ what is

now referred to as a “mitigation specialist.” Docket Entry (DE) 18. At that time

Murphy provided 39 exhibits in support of his allegations. Id. Since that time,

the parties have twice briefed their positions on whether the equitable benefits

of Martinez v. Ryan1 should be applied to the procedural default of Murphy’s

claims, and Murphy was given a chance to present evidence in support of his

position at a recent evidentiary hearing. DE 55, 60, 99. Despite the ample

opportunity to present evidence in support of his assertions, Murphy recently

filed numerous new affidavits with his proposed findings that were obtained

after the September 2015 evidentiary hearing. DE 105, exhibits 1-8. Due to

the dilatory nature of these new affidavits, as well as the fact that they violate



      1     132 S. Ct. 1309 (2012).
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the court’s previous order and the very purpose of holding an evidentiary

hearing, the Director moved to have these new documents stricken from these

proceedings. DE 108.

      Murphy now objects to this motion, arguing that the documents are

necessary to rebut “demonstrably false testimony” that the Director offered at

the evidentiary hearing through Murphy’s trial counsel, Brook Busbee. DE 109.

But Murphy’s objection is based a series of misconceptions. To start, it is not

the Director who offered the testimony of Ms. Busbee—she was called as a

witness by counsel for Murphy, and the majority of the complained-of testimony

concerning mitigation experts occurred during his redirect examination. DE

99; Transcript at 66-74. Given that Ms. Busbee was on Murphy’s witness list

and indeed called by him as a witness at the hearing, Murphy’s allegation that

he had “no way of knowing” about Ms. Busbee’s potential testimony is patently

absurd. Further, Ms. Busbee’s testimony was offered by Murphy because it is

his burden to establish that his claim is eligible for the Martinez doctrine, and

not the Director’s burden to prove the opposite. For this reason, Murphy’s

argument that the Director was somehow obligated to raise the contents of Ms.

Busbee’s testimony in prior pleadings to the Court is nonsensical.

      In an attempt to show that the new exhibits should be allowed, Murphy

also accuses the undersigned attorney of breaching his “legal and ethical

obligation to correct false testimony offered on its behalf.” DE 109 at 2. Aside

from the fact that it was Murphy who offered the testimony of Ms. Busbee,

however, there is no evidence to indicate that her testimony was false. Ms.

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Busbee testified generally about her decision to hire Dr. Mark Vigen as her

mitigation expert, and about her opinion as to the quality and availability of

such experts at the time of Murphy’s 2003 trial. Transcript at 66-74. Despite

Murphy’s repeated attempts to get her to state that such experts did not exist

at that time, Ms. Busbee stated the opposite:

             No, I’m not saying that. I’m saying there was nobody that I
      could find that I had confidence in. I don’t know that there was
      official training for mitigation experts at that time or who would
      have administered it if there was. I mean, as we know, you can get
      online now and get a degree in practically anything. It doesn’t
      mean that you would be good at your job.

Transcript at 66-67; see also 68 (“I don’t know that. . .”), 69-70 (“There could be

people who claim that they were trained. I was not satisfied, based on what

people were sending of trying to solicit this business, that they would have been

an effective mitigation investigator and/or witness.”).

      Nowhere in her testimony did Ms. Busbee assert that there were no

mitigation experts working in Texas at the time of trial as Murphy now claims.

DE 109 at 1. And nothing Murphy now provides to this Court establishes that

Ms. Busbee’s recollection of events and opinions on the quality of available

experts was “demonstrably false.” For these reasons, Murphy’s attempt to cover

his own dilatory actions by attacking the integrity of opposing counsel should

not be rewarded.




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                                CONCLUSION

      The Director respectfully requests that this Court strike Murphy’s

untimely affidavits (DE 105, exhibits 1-8) from the record, and render a decision

based upon the record and pleadings currently before it.

                                     Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I certify that on the 16th day of November, 2015, a copy of the above

pleading was electronically served to the following counsel for Murphy by filing

the foregoing document with the Clerk of the Court for the U.S. District Court,

Northern District of Texas, using the electronic case filing system of the court:

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